         Case 1:18-cv-10933-RA Document 47 Filed 02/14/19 Page 1 of 2




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 Manuel Asensio, individually and as the parent of
 Eva Asensio, a minor child,                                      Notice of Motion
                                                                   To Dismiss the
                                       Plaintiffs,                  Complaint
                        - against -
                                                                  18-cv-10933-RA
                                                                  (PRO SE) (ECF)
 Janet DiFiore, Chief Judge of New York State;
 Barbara Underwood, Attorney General of New
 York State; Andrew M. Cuomo, Governor of New
 York State; Adetokunbo O. Fasanya, New York
 County Family Court Magistrate; and Emilie
 Marie Bosak, individually,
                                       Defendants.


       PLEASE TAKE NOTICE THAT, upon the Complaint, filed November 21, 2018;

the accompanying Memorandum of Law in Support of State Defendants’ Motion to Dismiss

the Complaint, dated February 14, 2019; and all other papers and proceedings herein,

Defendants the Honorable Janet DiFiore, Chief Judge of the State of New York; the

Honorable Adetokunbo O. Fasanya, New York County Family Court Judge; Andrew Cuomo,

Governor of the State of New York; and Letitia James, Attorney General of the State of New

York, by their counsel, Letitia James, Attorney General of the State of New York, shall

move this Court, before the Honorable Ronnie Abrams, at the Thurgood Marshall United

States Courthouse, Southern District of New York, 40 Foley Square, New York, NY 10007,

at a date and time to be determined by the Court, for an order dismissing all claims in the

Complaint, with prejudice, pursuant to Rules 12(b)(1) and 12(b)(6) of the Federal Rules of

Civil Procedure, and granting any other relief the Court may deem just and proper.
       Case 1:18-cv-10933-RA Document 47 Filed 02/14/19 Page 2 of 2




Dated: New York, New York
       February 14, 2019

                                   LETITIA JAMES
                                   Attorney General of the State of New York
                                   Counsel for State Defendants
                                   By:

                                   __________________________
                                   Jonathan D. Conley
                                   Assistant Attorney General
                                   28 Liberty St.
                                   New York, New York 10005
                                   (212) 416-8108




                                    2
